                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                  April 07, 2025
                        UNITED STATES DISTRICT COURT
                                                                               Nathan Ochsner, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


SUZANNE RAYLENE FIGUEROA,                   §
     Plaintiff,                             §
                                            §
VS.                                         § CIVIL ACTION NO. 4:25-CV-01139
                                            §
UNITED STATES OF AMERICA, et al.,           §
      Defendants.                           §

                                        ORDER

      Pending before the Court is Plaintiff Suzanne Raylene Figueroa’s Motion for

Permission to Electronically File Documents in CM/ECF (Dkt. 6), requesting access to file

electronically. This District does not have any provision for allowing such access to non-

attorneys. Accordingly, the Court DENIES the motion (Dkt. 6).

       SIGNED at Houston, Texas on April 7, 2025.


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                                                     GEORGE C. HANKS, JR.
                                                 UNITED STATES DISTRICT JUDGE




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